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September 30, 2019
                                                                          Jonathan B. New
                                                                          direct dial: 212.589.4650
                                                                          jnew@bakerlaw.com

VIA CM-ECF

Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:    United States v. Christopher Collins, et al., No. 18-cr-567 (VSB) (S.D.N.Y.)

Dear Judge Broderick:

       We are counsel for Defendant Christopher Collins and submit this request for leave of the
Court that attorneys Barr and Wangsgard be excused from Local Civil Rule 1.8, such that each
attorney may bring one Personal Electronic Device into the courthouse at the October 1
Conference.

        Local Civil Rule 1.8, incorporated by Local Criminal Rule 1.1, authorizes the possession
of Personal Electronic Devices by administrative order. Accordingly, we respectfully request
entry of such an order. We understand that any devices authorized pursuant to this request will be
subject to examination for security purposes as are all other materials brought into the courthouse.
Further, we have read and understand the 2016 Committee Note to Rule 1.8 regarding the
continued prohibition on making any audio or video recording of any proceeding or
communication with the Court.

Sincerely,

/s/ Jonathan B. New
Jonathan B. New
Jonathan R. Barr
Kendall E. Wangsgard
BakerHostetler LLP
212.589.4650
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Honorable Vernon S. Broderick
September 30, 2019
Page 2


Counsel for Christopher Collins
Attachment (proposed order)

cc: All counsel of record (via CM-ECF)
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        Jonathan R. Barr


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